                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

UNITED STATES OF AMERICA                       )
               Plaintiff,                      )
                                               )
             v.                                )      CASE NO. DNCW3:05CR277-23
                                               )      (Financial Litigation Unit)
PAMELA OLIVIA KELLY,                           )
                Defendant,                     )
and                                            )
                                               )
COCA-COLA BOTTLING COMPANY                     )
CONSOLIDATED, INC.,                            )
               Garnishee.                      )

                           WRIT OF CONTINUING GARNISHMENT

GREETINGS TO:       Coca-Cola Bottling Company Consolidated, Inc.
                    5001 Chesapeake Drive
                    Charlotte, North Carolina 28216-2936
                    Attn: Payroll Department

      An Application for a Writ of Garnishment against the property of Pamela O. Kelly,

defendant/debtor, has been filed with this Court. A judgment has been entered against the

defendant/debtor. As of March 27, 2009, the United States Clerk of Court’s total balance

due is $1,048,359.00.

      You, as Garnishee, are required by law to answer in writing, under oath, within ten

(10) days, of service of this Writ, whether or not you have in your custody, control or

possession, any property or funds owned by the debtor, including non-exempt, disposable

earnings. See 28 U.S.C. § 3205(c)(2)(E).

      You must withhold and retain any property in which the defendant/debtor has a

substantial non-exempt interest and for which you are or may become indebted to the

defendant/debtor pending further order of the court. This means that you should withhold




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25% of the defendant/debtor's earnings which remain after all deductions required by law

have been withheld and 100% of all 1099 payments. See 15 U.S.C. §1673(a).

        Please state whether or not you anticipate paying the debtor any future payments

and whether such payments are weekly, bi-weekly, monthly, annually or bi-annually.

       You must file the original written Answer to this Writ within ten (10) days of your

receipt of this Writ with the following office:

                        Clerk of the United States District Court
                                  401 West Trade Street
                                   Charlotte, NC 28202

       Additionally, you are required by law to serve a copy of the Answer upon the

Defendant/debtor at his/her last known address:

                                       Pamela O. Kelly

                              Charlotte, North Carolina 28269

       You are also required to serve a copy of the Answer upon the Plaintiff at the

following address:

                   Jennifer A. Youngs, Assistant United States Attorney
                              United States Attorney's Office
                                  Financial Litigation Unit
                            227 West Trade Street, Suite 1650
                                   Charlotte, NC 28202

       Under the law, there is property which is exempt from this Writ of Garnishment.

Property which is exempt and which is not subject to this order may be listed on the

attached Claim for Exemption form.

       Pursuant to 15 U.S.C. §1674, you, the Garnishee, are prohibited from discharging

the defendant/debtor from employment by reason of the fact that his earnings have been

subject to garnishment for any one indebtedness.




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       Pursuant to 28 U.S.C. §3205(c)(6), if you fail to answer this writ or withhold property

or funds in accordance with this writ, the United States of America may petition the Court

for an order requiring you to appear before the court to answer the Writ and to withhold

property before the appearance date. If you fail to appear or do appear and fail to show

good cause why you failed to comply with this Writ, the court shall enter a judgment against

you for the value of the defendant/debtor's non-exempt interest in such property. The

Court may award a reasonable attorney's fee to the United States and against you if the

Writ is not answered within the time specified. It is unlawful to pay or deliver to the

defendant/debtor any item attached by this writ.



                                              Signed: April 23, 2009




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                           CLAIM FOR EXEMPTION FORM

           MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. §3613)

_____ 1.     Wearing apparel and school books. -- Such items of wearing apparel and
             such school brooks as are necessary for the debtor or for members of his
             family.

_____ 2.     Fuel, provisions, furniture, and personal effects. -- So much of the fuel,
             provisions, furniture, and personal effects in the Debtor’s household, and of
             the arms for personal use, livestock, and poultry of the debtor, as does not
             exceed $6,250 in value.

_____ 3.     Books and tools of a trade, business, or profession. -- So many of the books,
             and tools necessary for the trade, business, or profession of the debtor as
             do not exceed in the aggregate $3,125 in value.

_____ 4.     Unemployment benefits. -- Any amount payable to an individual with respect
             to his unemployment (including any portion thereof payable with respect to
             dependents) under an unemployment compensation law of the United
             States, of any State, or of the District of Columbia or of the Commonwealth
             of Puerto Rico.

_____ 5.     Undelivered mail. -- Mail, addressed to any person, which has not been
             delivered to the addressee.

_____ 6.     Certain annuity and pension payments. -- Annuity or pension payments
             under the Railroad Retirement Act, benefits under the Railroad
             Unemployment Insurance Act, special pension payments received by a
             person whose name has been entered on the Army, Navy, Air Force, and
             Coast Guard Medal of Honor roll(38 U.S.C. 1562), and annuities based on
             retired or retainer pay under Chapter 73 of Title 10 of United States Code.

_____ 7.     Workmen’s Compensation. -- Any amount payable with respect to
             compensation (including any portion thereof payable with respect to
             dependents) under a workmen’s compensation law of the United States, any
             State, the District of Columbia, or the Commonwealth of Puerto Rico.

_____ 8.     Judgments for support of minor children. -- If the debtor is required by
             judgment of a court of competent jurisdiction, entered prior to the date of
             levy, to contribute to the support of his minor children, so much of his salary,
             wages, or other income as is necessary to comply with such judgment.

_____ 9.     Certain service-connected disability payments. -- Any amount payable to an
             individual as a service-connected (within the meaning of section 101(16) of
             Title 38, United States Code) disability benefit under -- (A) subchapter II, III,
             IV, V, or VI of Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32,
             34, 35, 37 or 39 of such Title 38.

____ 10.     Assistance under Job Training Partnership Act.

             -- Any amount payable to a participant under the Job Training Partnership Act
             (29 U.S.C. 1501 et seq.) From funds appropriated pursuant to such Act.
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